                                         UNITED STATES DISTRICT COURT
                      Case 2:07-cr-00341-JAM
                                      EASTERN Document  11CALIFORNIA
                                              DISTRICT OF   Filed 08/13/07 Page 1 of 1

UNITED STATES OF AMERICA                                 )
                                                         )        CR. No. 2:07-CR-0341-FCD
                 v.                                      )
                                                         )
JODI LYNN GARCIA,                                        )

                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:        Jodi Lynn Garcia
Detained at (custodian):        Butte County Jail
Detainee is:             a.)    (X) charged in this district by: (X) Indictment () Information () Complaint
                                   charging detainee with: 18/371, 1708, 1344(2); 18/1708; 18/1344(2); 18/1028A(a)(1)
                or       b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)   (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)   () be retained in federal custody until final disposition of federal charges, as a sentence is
                                currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                Signature:                        \s\ Michelle Rodriguez
                                Printed Name & Phone No:          MICHELLE RODRIGUEZ, Tel: (916) 554-2700
                                Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: August 13, 2007.




_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):         Jodi Lynn Garcia, aka: Joe Garcia             Female
Booking or CDC #:               CII #AXXXXXXXX                                DOB: 9/19/1975
Facility Address:               ______________________________________        Race:
                                _______________________________________       FBI #: 564339LB7
Facility Phone:                 _______________________
Currently Incarcerated For:     _____________________________________________

_________________________________________________________________________________________________
                                                  RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
